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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

PEGGY HILL                                                                         PETITIONER

v.                                CASE NO. 4:06-CR-00281-01 GTE
                                           (4:08-CV-00274)

UNITED STATES OF AMERICA                                                          RESPONDENT


     ORDER PARTIALLY RESOLVING REQUEST FOR COLLATERAL RELIEF

       Presently before the Court is Petitioner Peggy Hill’s Motion under 28 U.S.C. § 2255 to

Vacate, Set Aside, or Correct Sentence filed on April 1, 2008. The motion is fully briefed. For

the reasons explained below, the Court rejects all arguments for relief put forth by Petitioner

except one. The Court takes under advisement Petitioner’s claim that her counsel provided

ineffective assistance by failing to appeal her sentence. A hearing is presently scheduled on

September 24, 2008, to address that issue.

I.     BACKGROUND

       On January 4, 2007, Petitioner and her counsel appeared before this Court, and pursuant

to a written plea agreement, waived indictment, and entered a plea of guilty to Count One of a

Superseding Information. The Superseding Information charged Petitioner with conspiracy to

knowingly and intentionally manufacture at least 50 grams, but less than 500 grams, of a mixture

or substance containing methamphetamine, a Schedule II controlled substance, in violation of 18

U.S.C. §§ 841(a)(1), (b)(1)(B) and 846. The Court dismissed Count 1 of the Indictment1 as to


       1
        Petitioner was initially charged in Count 1 of a two-count Indictment with conspiracy to
knowingly and intentionally manufacture more than 500 grams of a mixture or substance
containing methamphetamine, a Schedule II controlled substance, in violation of 18 U.S.C. §§

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Petitioner upon motion of the Government.

       On April 2, 2007, the Court sentenced Petitioner to 80 months’ imprisonment, 4 years of

supervised release with conditions, and $100 special assessment. During the sentencing hearing,

the Court asked the Petitioner and her counsel if there were any “factual errors or mistakes in the

[pre-sentence] report.”2 The defendant did not provide any corrections, and defense counsel

stated, “There are not, your Honor.”3 The Court stated that it would rely upon the factual

information contained in the report and consider it in reaching a proper and just sentence.4

II.    MOTION

       In her motion, Petitioner sets forth the following points of error:

       First Point of Error: Did the district [c]ourt err, or in the alternative, was Counsel
       ineffective for failure to challenge or object to assessed criminal history pursuant
       to Shepard v. United States, 544 U.S. 13 (2005).

       Second Point of Error: In a Post-Booker proceeding, should assessed criminal
       history points be also “advisory only” and permit the sentencing Court discretion
       to mitigate the sentence considered; if so, was counsel ineffective for failure to
       preserve and appeal such a determination, or argue for mitigating role reduction at
       sentencing

       Third Point of Error: Was counsel ineffective, or in the alternative did Respondent
       breach the plea agreement by failing to motion the Court for sentence reduction
       pursuant to § 5K1.1 U.S.S.G.?

       Fourth Point of Error: Did Counsel provide per se ineffective assistance by failing


841(a)(1), (b)(1)(A) and 846.
       2
           See Petitioner’s Exhibit 3, Sentencing Transcript, p. 3.
       3
        See Petitioner’s Exhibit 3, Sentencing Transcript, p. 3. Defense counsel only noted that
the Government had since moved for the third point, resulting in a one-point reduction in
Petitioner’s offense level.
       4
           See Petitioner’s Exhibit 3, Sentencing Transcript, p. 4.

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       to file direct appeal even though requested by Movant, or in the alternative, was
       he at a minimum, obligated to file a “no merits” brief pursuant to Anders v.
       California, to fulfill his obligation to his client?

       To show ineffective assistance of counsel in the context of a guilty plea, Petitioner must

establish: “(1) counsel’s performance fell below the Strickland5standard of reasonableness; and

(2) there is a reasonable probability that but for counsel’s errors, the defendant would not have

pleaded guilty but would have proceeded to trial.” United States v. Davis, 508 F.3d 461, 463

(8th Cir. 2007). Courts are not required to analyze the performance prong if they determine that

the defendant suffered no prejudice as a result of the allegedly deficient performance. Pryor v.

Norris, 103 F.3d 710, 713 (8th Cir. 1997). As pointed out in the leading case of Strickland v.

Washington, 466 U.S. 668 (1984), in evaluating counsel’s conduct “judicial scrutiny of a

counsel’s performance must be highly deferential.” Id. at 689.

       Before the Court may consider the merits of Petitioner’s claim, it must decide whether

Amendment 709, effective November 1, 2007, applies to Petitioner’s case since she was

sentenced under the 2006 version of the guidelines on April 2, 2007. Amendment 709 amended

two areas of the Chapter Four criminal history rules: the counting of multiple prior sentences and

the use of misdemeanor and petty offenses in determining a defendant’s criminal history score. It

appears that both parties initially assumed that the 2007 amended version of the Guidelines

applies. However, the Government has subsequently filed a brief in support of the proposition

that Amendment 709 is substantive, rather than clarifying, and thus, does not apply retroactively

to Petitioner’s sentence.




       5
           Strickland v. Washington, 466 U.S. 668, 104 S. Ct. 2052, 80 L.Ed.2d 674 (1984).

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       A.      Does Amendment 709 apply to Petitioner’s Case?

       U.S.S.G. § 1B1.11 provides that “[t]he court shall use the Guidelines Manual in effect on

the date that the defendant is sentenced.” See also Untied States v. Adams, 509 F.3d 929, 932 n.4

(8th Cir. 2007) (noting that Amendment 709 was inapplicable to the case on direct appeal, as the

court must apply the Guidelines that were in effect on the date of appellant’s sentencing unless

the use of the Guidelines Manual in effect on the date that the defendant is sentenced would

violate the ex post facto clause of the United States Constitution, in which case the court is

directed to use the Guidelines Manual in effect on the date that the offense of conviction was

committed)). See also 18 U.S.C. § 3553(a)(4) (instructing courts to consider the guidelines “in

effect on the date the defendant is sentenced”). Thus, the Court properly applied the 2006

version of the Guidelines in sentencing Petitioner.

       But, the Eighth Circuit has stated that insofar as a post-sentence amendment is clarifying,

rather than substantive, the Court may rely on it in interpreting the unamended Guideline. United

States v. Renfrew, 957 F.2d 525, 527 (8th Cir. 1992). There is some authority to suggest that if

Amendment 709 is clarifying, rather than substantive, the Court may retroactively apply

Amendment 709 to Petitioner’s case. See United States v. Marmolejos, 140 F.3d 488, 491 (3d

Cir. 1998) (holding that if Amendment 518 clarified the existing commentary in the Guidelines,

petitioner’s section 2255 habeas petition should be granted and the district court should consider

the amendment at a resentencing hearing, but if it substantively changed its meaning, the motion

should be denied and the amendment given no effect). Thus, the Court must consider whether

Amendment 709 was clarifying or substantive.

       Courts previously confronted with this issue have consistently held that Amendment 709


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is substantive, rather than clarifying. See United States v. Marler, 2008 WL 2220409, at *6 (9th

Cir. May 29, 2008) (stating on direct appeal that “[t]he 2007 amendment accordingly was a

substantive change, not a clarifying change, and does not apply retroactively.”) (citing United

States v. Wood, 2008 WL 1902663, at *4 (3d Cir. May 1, 2008) (holding that “the amended

version of § 4A1.2(a)(2) effects a substantive change” and therefore did not apply retroactively,

reasoning that Amendment 709 does not incorporate the “relatedness” concept into the main

body of § 4A1.2, removes “any consideration of whether the offenses in question share any

temporal proximity or factual relationship,” and “fails to mention the notion of consolidation”);

United States v. Godin, 522 F.3d 133, 135 (1st Cir. 2008) (holding that Amendment 709 was

substantive, stating that “[t]he Commission said that a conflict existed as to the interpretation of

the earlier guideline and, in lieu of clarification in favor of one view or the other, it adopted a

new blanket rule that eliminates the ambiguity by going beyond any circuit's reading of the

previous rule”); Munoz v. United States, 2008 WL 1981535, *2-3 (M.D. Pa. May 2, 2008)

(holding that “Amendment 709 is substantive alone, and therefore, not retroactive”).

       This Court agrees with other courts to consider the issue. Amendment 709 may not be

applied retroactively.

       B.      Petitioner’s First Ground

       Petitioner first argues that this Court’s reliance upon an incorrect assessment of her

criminal history in her Pre-Sentence Investigation Report (“PSR”) is a fundamental defect

cognizable under 28 U.S.C. § 2255 and that her counsel’s failure to detect and inform the Court

of same constitutes ineffective assistance of counsel. Petitioner asserts that the criminal history

analysis in her PSR incorrectly assesses four points pursuant to U.S.S.G. § 4A1.1(c) and two


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additional criminal history points pursuant to U.S.S.G. § 4A1.1(d).6

       Petitioner relies upon Shepard v. United States, 544 U.S. 13 (2005), in arguing that

counsel was ineffective in failing to require the Government to produce documentation of

conduct attributable to her prior criminal history because she did not admit in open court to such

conduct. However, “[i]n the absence of a defendant’s objection to the facts set forth in a PSR, a

district court may assume them to be true.” United States v. Hunter, 505 F.3d 829, 831 (8th Cir.

2007). “When a defendant admits the facts surrounding a prior conviction by failing to object to

them, a district court may consider those facts without conducting the analysis set forth in

Shepard v. United States, 544 U.S. 13, 125 S.Ct. 1254, 161 L.Ed.2d 205 (2005).” Hunter, 505

F.3d at 831 (citing United States v. Chauncey, 420 F.3d 864, 878 (8th Cir. 2005) (concluding that

Shepard is inapplicable where a defendant admits facts by failing to object to them within the

PSR)). See also United States v. Reliford, 471 F.3d 913, 916 (8th Cir. 2006) (“[I]f the defendant

fails to object to the fact statements in the [PSR] establishing that a prior offense was a violent

felony conviction, the government need not introduce at sentencing the documentary evidence

that Taylor and Shepard otherwise require.”). Contrary to Petitioner’s assertion, she did not note

any “factual errors or mistakes” in the PSR, which includes the facts underlying the prior

convictions set forth below each conviction. Importantly, Petitioner still fails to set forth any

facts that were “inaccurate” contained within the PSR. Therefore, the Court will rely upon the

facts contained in the PSR.

       According to the PSR, Petitioner received one criminal history point pursuant to U.S.S.G.

§ 4A1.1(c) for each the following offense groups: (1) Criminal attempt; (2) Possession of


       6
           Although Petitioner cites subsection (b), it is clear that the PSR cites subsection (d).

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Hydrocodone and eleven counts of Obtaining drugs by fraud; (3) Hot Check; (4) Hot Check; (5)

Possession of methamphetamine with intent to deliver, Possession of drug paraphernalia,

Possession of Clonazepam with intent to deliver, Possession of Alprazolam with intent to

deliver, Possession of Ambien, and Possession of Diazepam; (6) Obtaining drugs by fraud and

Obstructing government operations; and (7) Hot Check, for a total of seven criminal history

points. However, the PSR counted only four of these points when calculating Petitioner’s

Criminal History Category pursuant to U.S.S.G. § 4A1.1(c).

       Petitioner asserts that the PSR incorrectly “assessed one point for each of concurrent

sentencings on related ‘same course of conduct’ matters before the same judge on the same day.”

Prior to its November 1, 2007 amendment,7 U.S.S.G. § 4A1.2(a)(2) provided:

       Prior sentences imposed in unrelated cases are to be counted separately. Prior
       sentences imposed in related cases are to be treated as one sentence for purposes
       of § 4A1.1(a), (b), and (c). Use the longest sentence of imprisonment if
       concurrent sentences were imposed and the aggregate sentence of imprisonment
       imposed in the case of consecutive sentences.


       7
         Effective November 1, 2007, Amendment 709 changed U.S.S.G. § 4A1.2(a)(2) to read
as follows:
        If the defendant has multiple prior sentences, determine whether those sentences
        are counted separately or as a single sentence. Prior sentences always are counted
        separately if the sentences were imposed for offenses that were separated by an
        intervening arrest (i.e., the defendant is arrested for the first offense prior to
        committing the second offense). If there is no intervening arrest, prior sentences
        are counted separately unless (A) the sentences resulted from offenses contained
        in the same charging instrument; or (B) the sentences were imposed on the same
        day. Count any prior sentence covered by (A) or (B) as a single sentence. See
        also § 4A1.1(f).

       For purposes of applying § 4A1.1(a), (b), and (c), if prior sentences are counted as
       a single sentence, use the longest sentence of imprisonment if concurrent
       sentences were imposed. If consecutive sentences were imposed, use the
       aggregate sentence of imprisonment.


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Application Note 3 to U.S.S.G. § 4A1.2 stated:

       Prior sentences are not considered related if they were for offenses that were
       separated by an intervening arrest (i.e., the defendant is arrested for the first
       offense prior to committing the second offense). Otherwise, prior sentences are
       considered related if they resulted from offenses that (A) occurred on the same
       occasion, (B) were part of a single common scheme or plan, or (C) were
       consolidated for trial or sentencing. . . .

       The PSR indicates that Petitioner was sentenced for both (1) Criminal attempt and (2)

Possession of Hydrocodone and the eleven counts of Obtaining drugs by fraud on April 1, 2004,

and received a total of two criminal history points. The PSR states that Petitioner was arrested

on the criminal attempt charge on July 12, 2003. The PSR also indicates that the conduct

resulting in the Obtaining drugs by fraud charge occurred from July 1, 2003 through August 28,

2003, and that Petitioner was found to be in possession of Hydrocodone on September 12, 2003,

the date that she was arrested for obtaining drugs by fraud and possession of Hydrocodone.

       The Court finds that the offenses were separated by an intervening arrest because

Petitioner was arrested for the first offense prior to completing her commission of the second

offense. Furthermore, even if the Criminal attempt and eleven counts of Obtaining drugs by

fraud charges should be counted as a single sentence because there was no intervening arrest,

there was an intervening arrest between the Criminal attempt and possession of Hydrocodone

offenses. Therefore, Petitioner correctly received two criminal history points for these offenses.

       The PSR also indicates that Petitioner was sentenced for (3) Hot Check and (4) Hot

Check on May 5, 2005, and received a total of two criminal history points. The PSR states that

Petitioner was arrested on the first Hot Check charge on February 9, 2004, due to writing an

insufficient check on September 30, 2003. The PSR also states that the conduct resulting in the



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second Hot Check offense occurred from December 23, 2003, until May 13, 2004. The Court

finds that the offenses were separated by an intervening arrest because Petitioner was arrested for

the first hot check offense prior to completing her commission of the second hot check offense.

Therefore, Petitioner correctly received two criminal history points for these offenses.

       Additionally, the PSR indicates that Petitioner was sentenced for (5) Possession of

methamphetamine with intent to deliver, Possession of drug paraphernalia, Possession of

Clonazepam with intent to deliver, Possession of Alprazolam with intent to deliver, Possession

of Ambien, and Possession of Diazepam and (6) Obtaining drugs by fraud and Obstructing

government operations on December 1, 2005, and received a total of two criminal history points.

The PSR does not provide sufficient information to determine when the offense conduct

occurred. However, even assuming Petitioner should only receive one point for these offenses,

Petitioner would still has four criminal history points. Therefore, the Court need not make a

determination on this issue to reject Petitioner’s argument.

       Petitioner also asserts that the hot check violations should not have been counted pursuant

to U.S.S.G. § 4A1.2(c). Prior to its November 1, 2007 amendment,8 U.S.S.G. § 4A1.2(c)



       8
           Effective November 1, 2007, Amendment 709 changed U.S.S.G. § 4A1.2(c) to read as
follows:
       Sentences for misdemeanor and petty offenses are counted, except as follows:
       (1)    Sentences for the following prior offenses and offenses similar to them, by
              whatever name they are known, are counted only if (A) the sentence was a
              term of probation of more than one year or a term of imprisonment of at
              least thirty days, or (B) the prior offense was similar to an instant offense:
                       ...
                       Insufficient funds check
                       ...

(Emphasis added).

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provided:

       Sentences for misdemeanor and petty offenses are counted, except as follows:
       (1)    Sentences for the following prior offenses and offenses similar to them, by
              whatever name they are known, are counted only if (A) the sentence was a
              term of probation of at least one year or a term of imprisonment of at least
              thirty days, or (B) the prior offense was similar to an instant offense:
                      ...
                      Insufficient funds check
                      ...

(Emphasis added). Petitioner was sentenced to a term of probation for twelve months, or at least

one year, for each of the three hot check offenses for which Petitioner received criminal history

points. Under the 2006 version of the Guidelines, Petitioner’s hot check convictions clearly

counted toward her criminal history. Thus, Petitioner’s argument is without merit.

       To the extent that the petition can be construed to assert that the PSR incorrectly assesses

two additional criminal history points pursuant to U.S.S.G. § 4A1.1(d), such argument is without

merit. U.S.S.G. § 4A1.1(d) (2006) provides, “Add 2 points if the defendant committed the

instant offense while under any criminal justice sentence, including probation . . . .” Paragraph

41 of the PSR adds two points to Petitioner’s Criminal History Computation because she

committed the instant offense while under a criminal justice sentence. Specifically, the PSR

states that Petitioner was placed on three years probation on April 1, 2004, and the instant

offense occurred from August 2005 until June 22, 2006.

       The Court concludes that Petitioner was correctly assessed four points pursuant to

U.S.S.G. § 4A1.1(c) and two additional criminal history points pursuant to U.S.S.G. § 4A1.1(d).

Therefore, Petitioner cannot establish either that her counsel’s performance fell below the

Strickland standard of reasonableness or that there is a reasonable probability that but for



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counsel’s errors, she would not have pleaded guilty but would have proceeded to trial.

Petitioner’s claim fails.

         C.     Petitioner’s Second Ground

         Petitioner asserts that post-Booker criminal history points should be considered

“advisory” to permit the sentencing Court discretion to mitigate the sentence. Petitioner also

asserts that counsel was ineffective for failure to preserve and appeal such a determination.

         In response, the Government asserts that the Seventh and Ninth Circuits have examined

the issue at bar and determined that criminal history points are not advisory. See United States v.

Ocampo, 2007 WL 1849427 (7th Cir. July 19, 2007) (holding that “criminal history points are

not themselves advisory[,]” and that “[e]ven after Booker, courts must correctly calculate

criminal history points”); United States v. Hernandez-Castro, 473 F.3d 1004, 1006 (9th Cir.

2007).

         “[A] district court should begin all sentencing proceedings by correctly calculating the

applicable Guidelines range.” Gall v. United States, 128 S. Ct. 586, 596 (2007). Although the

Eighth Circuit has “not yet been called upon to decide whether the calculation of criminal history

points is rendered advisory after Gall and Kimborugh[,]” the court has noted that “several of our

sister circuits have determined that the calculation of criminal history points is not advisory.”

United States v. Leon-Alvarez, 2008 WL 2345031, *3 (8th Cir. June 10, 2008) (citing United

States v. Hernandez-Castro, 473 F.3d 1004, 1007 (9th Cir. 2007) (stating that “Booker did not

affect the imposition of statutory minimums”); United States v. McKoy, 452 F.3d 234, 239-40

(3d Cir. 2006) (stating that 18 U.S.C. § 3553(f)(1) was left intact after Booker); United States v.

Brehm, 442 F.3d 1291, 1300 (11th Cir. 2006) (holding that “the Supreme Court’s decision in


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Booker did not render the calculation of eligibility requirements for safety-valve relief advisory

...”); United States v. Barrero, 425 F.3d 154, 157-58 (2d Cir. 2005) (rejecting appellant's

argument that 18 U.S.C. § 3553(f)(1) is rendered advisory by Booker); United States v.

Carpenter, 406 F.3d 915, 917 (7th Cir. 2005) (stating that “[c]riminal history is all about prior

convictions; its ascertainment therefore is an issue of law excluded by Booker’s own formulation

...”); United States v. Mendoza-Borunda, 239 Fed. Appx. 416, 419 (10th Cir. 2007)

(unpublished) (stating that “the district court correctly concluded that it could not ignore one of

[the defendant's] criminal history points in order to make him eligible for safety-valve relief”)).

       Petitioner attempts to distinguish Ocampo and Hernandez-Castro by stating that both

cases address only whether the requirements of the safety valve, pursuant to 18 U.S.C.

§3553(f)(1), remained intact. The Court finds that Petitioner’s argument is without merit. As

stated above, the Court should begin all sentencing proceedings by correctly calculating the

applicable Guidelines range, which requires the Court to correctly calculate the Defendant’s

criminal history points. Of course, at that point, the Court is not bound to impose a sentence

within the recommended Guidelines range, as the Guidelines are advisory.

       Petitioner further asserts that counsel was ineffective for failure to argue for mitigating

role reduction at sentencing. Essentially, Petitioner asserts that her counsel was ineffective for

failing to argue that the Court should have reduced her offense level by applying a mitigating role

reduction pursuant to U.S.S.G. § 3B1.2. Petitioner asserts that her counsel should have

attempted to prevent the inclusion of the clause preventing consideration of a reduction under

U.S.S.G. § 3B1.2, especially considering that the Government was not forthcoming in filing a

motion pursuant to U.S.S.G. § 5K1.1.


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       Petitioner states that in pleading to the Superseding Information, she only admitted to “at

least 50 grams, but less than 500 grams, of a mixture or substance containing

methamphetamine,” whereas a total of 73.48 kilograms was attributed to the entire conspiracy.

Petitioner further states that she confessed guilt “solely” to the one date of arrest in Mississippi.9

She contends that these facts demonstrates that her role was at least minor and that she was

plainly less culpable than those involved in the conduct of the group.

       The Government contends that Petitioner’s counsel was not ineffective for failing to

request a mitigating role reduction pursuant to U.S.S.G. § 3B1.2 because Petitioner was not

entitled to a mitigating role reduction pursuant to the Plea Agreement that she entered into with

the United States and which the Court approved. The plea agreement stipulates as follows:

“Neither party shall seek any enhancements or reductions in sentence under U.S.S.G. 3B or 5K

other than those specifically set out in this agreement.”10 The Government states that by signing

the Plea Agreement, Petitioner acknowledged that she understood and voluntarily agreed to the

terms and conditions of the Agreement,11 and that the Agreement constituted a legal, valid, and

binding obligation on her.

       In her response, Petitioner states that the issue at bar “turns upon whether or not her

attorney had prior knowledge of the Government’s intent to walk away from its enticement under

the Plea Agreement, to file a motion for reduction.”



       9
        The PSR states, “During the presentence interview, Ms. Hill admitted her involvement in
the offense solely as to the one date of arrest in Mississippi.” Exhibit 1 ¶ 13, Plaintiff’s Motion.
       10
            Exhibit 4 ¶ 6F, Plea Agreement, Petitioner’s Motion.
       11
            Exhibit 4 ¶ 18A, Plea Agreement, Petitioner’s Motion.

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        The Court finds that Petitioner’s argument is without merit. The Plea Agreement

expressly stipulates that Petitioner is not eligible for a mitigating role reduction pursuant to

U.S.S.G. § 3B1.2. Petitioner received a significant benefit under the Plea Agreement. The Court

agrees with the Government that Petitioner’s attorney was not ineffective and did not prejudice

her by abiding by the terms of the Plea Agreement voluntarily entered into by Petitioner.

Furthermore, as discussed below, the Government did not breach the terms of the Plea

Agreement with regard to a motion for reduction pursuant to U.S.S.G. § 5K1.1.

        D.      Petitioner’s Third Ground

        Petitioner asserts that her counsel was ineffective by failing to motion the Court for

sentence reduction pursuant to U.S.S.G. § 5K1.1. In the alternative, Petitioner asserts that

Respondent breached the plea agreement by failing to motion the Court for sentence reduction

pursuant to U.S.S.G. § 5K1.1.

        The Government asserts that Petitioner’s arguments are without merit. The Government

states that its decision not to motion for reduction was not based on an improper motive,

unconstitutional motive, or irrational determination. Rather, the Government contends that no

motion for substantial assistance was filed because Petitioner has failed to provide substantial

assistance since she was indicted and pled guilty.

        Petitioner replies by stating that it is her substantial assistance prior to her guilty plea, but

before the Government’s indictment of some of her co-defendants, that entitles her to a motion

for reduction. Petitioner relies upon her affidavit to support her assertion that the Government’s

failure to file the motion was based upon unconstitutional motive or was irrational. In her

affidavit, Petitioner states:


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       2.      On the day [Mr. Larkowski] presented me with a plea agreement proffered
               by the Government, he assured me that I was looking at a sentence of no
               more than 40 months because of my cooperation with the Government.
               “Just enough time to do the drug program and go home”.

       3.      At all times relevant, he represented that I would receive a substantial
               assistance motion that would be filed by the Government if I executed the
               Plea Agreement as submitted.

       4.      At all times relevant, I believed the representations of my attorney and
               used those representations as the basis for my decision to plea guilty and
               acceptance of the terms and conditions set forth in the Plea Agreement.

       5.      On the day that I was sentenced to 80 months of incarceration, April 02,
               2007, Mr. Larkows[k]i, informed me that “he knew that was going to
               happen” and hadn’t informed because he didn’t want me to “freak out”.

       “The government has no duty to make a substantial assistance motion unless it has

entered into a plea agreement with the defendant that creates such a duty.” Untied States v.

Ziesman, 409 F.3d 941, 956-57 (8th Cir. 2005) (citations omitted). “If the government expressly

reserves discretion through a plea agreement or other instrument, courts ‘will perform only a

limited review of the decision not to file a motion for downward departure for substantial

assistance.’” Davis, 397 F.3d at 676 (quoting United States v. Hardy, 325 F.3d 994, 996 (8th

Cir. 2003)).

       “The exception to the otherwise broad discretion of the government to file a motion for

substantial assistance is triggered when the government's refusal was ‘irrational, in bad faith, or

based on an unconstitutional motive.’” Id. (quoting United States v. Licona-Lopez, 163 F.3d

1040, 1042 (8th Cir. 1998)). “In order to show that the government's refusal was irrational, in

bad faith, or based upon an unconstitutional motive, the defendant must make a ‘substantial

threshold showing’-[the defendant] must present evidence tending to show that the decision in



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the case was not rationally related to a legitimate government interest.” Id. (citing Wade v.

United States, 504 U.S. 181, 186, 112 S.Ct. 1840, 118 L.Ed.2d 524 (1992); United States v.

Romsey, 975 F.2d 556, 558 (8th Cir. 1992)). “This showing must involve clear evidence that the

prosecutor’s motive was improper, rather than a mere allegation that substantial assistance was

provided and that the prosecutor had an improper motive for declining to file a motion for

downward departure.” United States v. Fields, 512 F.3d 1009, 1011 (8th Cir. 2008). “After a

substantial threshold showing of irrationality, bad faith, or unconstitutionality is made, the

defendant is entitled to discovery or an evidentiary hearing.” Davis, 397 F.3d at 676 (citing

Wade, 504 U.S. at 186, 112 S.Ct. 1840 (“[A] defendant has no right to discovery or an

evidentiary hearing unless he makes a ‘substantial threshold showing.’”)).

       As to Petitioner’s argument that his counsel was ineffective for failing to move for

sentence reduction pursuant to U.S.S.G. § 5K1.1, “[a]bsent a motion by the government, a

district court generally lacks the authority to grant a downward departure based on a defendant's

substantial assistance.” United States v. Davis, 397 F.3d 672, 676 (8th Cir. 2005) (quoting United

States v. Wolf, 270 F.3d 1188, 1190 (8th Cir. 2001)). Furthermore, as noted above, the Plea

Agreement expressly stipulates, “Neither party shall seek any enhancements or reductions in

sentence under U.S.S.G. 3B or 5K other than those specifically set out in this agreement.” The

Plea Agreement also states, “The defendant further understands and agrees that the defendant

may not seek directly, or indirectly through another person, any reduction of sentence based on

cooperation offered or provided in the absence of a motion by the United States.” Petitioner’s

counsel was not ineffective and did not prejudice her by failing to breach the terms of the Plea

Agreement voluntarily entered into by Petitioner, as Petitioner’s breach of the plea agreement


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could have seriously prejudiced Petitioner.

       As to Petitioner’s argument that the Government breached the Plea Agreement, as the

Government notes, section 5B of Petitioner’s Plea Agreement sets forth the provisions regarding

a possible sentence reduction if Hill provided the United States with substantial assistance.

Specifically, paragraph two provides, “If, in the sole and absolute discretion of the United States,

the defendant’s cooperation constitutes substantial assistance within the meaning of the

Sentencing Guidelines, the United States will make a motion to the Court for a sentence

reduction.”12 Paragraph five states, “The defendant understands that this Agreement confers no

right upon the defendant to require that the United States make a motion for sentence reduction

and confers no right or remedy in favor of the defendant in the event that the United States

determines that no such motion should be filed.”13 Clearly, the plea agreement expressly reserves

to the Government the discretion not to file a motion for downward departure for substantial

assistance.

       Petitioner has failed to make a substantial threshold showing of irrationality, bad faith, or

unconstitutionality because she has failed to present evidence tending to show that the decision

was not rationally related to a legitimate government interest. Additionally, Petitioner has failed

to set forth clear evidence that the prosecutor’s motive was improper.

       E.        Petitioner’s Fourth Ground

       Petitioner asserts that her counsel provided per se ineffective assistance by failing to file a


       12
            Exhibit 4 p. 4, Plea Agreement, Petitioner’s Motion.
       13
            Exhibit 4 p. 4, Plea Agreement, Petitioner’s Motion.

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direct appeal as she requested, or alternatively, for failing to at least file a “no merits” Anders

brief. In her affidavit, Petitioner states:

        6.         On that same day [the day of sentencing], when I told [Mr. Larkowski]
                   that I wanted to appeal, he strongly advised against it [] by convincing me
                   that “I faired pretty well considering that I could end up with more time if I
                   tried.
        7.         Before the end of the first week after sentencing, I called him at his office
                   and told him that I really felt I should appeal. He told me that before he
                   could anything, “he needed more money first.”
        8.         Since I didn’t have any more money, I thought there was nothing I could
                   do about it and didn’t know who or where to turn for legal advise [sic].
        9.         I did then and do now, wish to proceed with a direct appeal of the issues
                   and claims raised in my Motion to Vacate, as well as any other claims that
                   different and competent counsel may advise.14


        In Roe v. Flores-Ortega, 528 U.S. 470, 480, 120 S. Ct. 1029, 1036 (2000), the United

States Supreme Court held “that counsel has a constitutionally imposed duty to consult with the

defendant about an appeal when there is reason to think either (1) that a rational defendant would

want to appeal (for example, because there are nonfrivolous grounds for appeal), or (2) that this

particular defendant reasonably demonstrated to counsel that he was interested in appealing.” “In

making this determination, courts must take into account all the information counsel knew or

should have known.” Id. “Although not determinative, a highly relevant factor in this inquiry

will be whether the conviction follows a trial or a guilty plea, both because a guilty plea reduces

the scope of potentially appealable issues and because such a plea may indicate that the defendant

seeks an end to judicial proceedings.” Id. “Even in cases when the defendant pleads guilty, the

court must consider such factors as whether the defendant received the sentence bargained for as



        14
             Exhibit 5 ¶ 6-9, Petitioner Affidavit, Petitioner’s Motion.

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part of the plea and whether the plea expressly reserved or waived some or all appeal rights.” Id.

“Only by considering all relevant factors in a given case can a court properly determine whether a

rational defendant would have desired an appeal or that the particular defendant sufficiently

demonstrated to counsel an interest in an appeal.” Id.

       “The second part of the Strickland test requires the defendant to show prejudice from

counsel's deficient performance.” Id. at 481. “[T]o show prejudice in these circumstances, a

defendant must demonstrate that there is a reasonable probability that, but for counsel's deficient

failure to consult with him about an appeal, he would have timely appealed.” Id. at 484.

       In response, the Government asserts that Hill “never asserts that she asked her counsel to

file an appeal on her behalf.” Rather, the Government state that “it can be inferred that Hill

discussed the potential of appealing with her counsel because she states that he ‘strongly advised

against’ appealing.” The Government contends that Hill merely sought her counsel’s opinion as

to appealing the sentence, which amounts to a mere conclusory allegation lacking any support in

the record.

       It appears that the Government has overlooked Petitioner’s sworn affidavit in which she

states that she told her counsel that she “wanted to appeal” and later called his office and told

him that she “really felt [she] should appeal.” “[A] lawyer who disregards specific instructions

from the defendant to file a notice of appeal acts in a manner that is professionally

unreasonable[;] defendant is entitled to a new appeal without showing that his appeal would

likely have merit.” Parsons v. Untied States, 505 F.3d 797 (8th Cir. 2007).

       This issue can not be resolved on the present pleadings. A hearing is scheduled for



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Wednesday, September 24, 2008, at 10:00 a.m. for the sole purpose of addressing this one

remaining issue.

                                            CONCLUSION

       For the reasons explained above,

       IT IS HEREBY ORDERED THAT Petitioner’s Motion under 28 U.S.C. § 2255 to

Vacate, Set Aside, or Correct Sentence (Docket No. 214) be, and it is hereby, DENIED as to all

claims other than the claim that her trial counsel was ineffective for failing to file an appeal.

That issue is taken under advisement and will be addressed during the upcoming September 24th

hearing.

       IT IS SO ORDERED this         16th     day of September, 2008.

                                                           _/s/Garnett Thomas Eisele_______
                                                           UNITED STATES DISTRICT JUDGE




                                                  20
